94 F.3d 643
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Richard A. VOGENEY, Petitioner-Appellant,v.ZEB CREWS;  State of North Carolina, Respondents-Appellees.
    No. 96-6469.
    United States Court of Appeals, Fourth Circuit.
    Aug. 20, 1996.
    
      Richard A. Vogeney, Appellant Pro Se.
      Before MURNAGHAN and ERVIN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying reconsideration of the court's prior order denying relief on his 28 U.S.C. § 2254 (1988), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214 petition, which the court properly construed as an action under 42 U.S.C. § 1983 (1988).  We have reviewed the record and the district court's opinion and find no abuse of discretion.  Accordingly, we deny a certificate of probable cause to appeal;  to the extent that a certificate of appealability is required, we deny such a certificate.  We dismiss the appeal on the reasoning of the district court.   Vogeney v. Crews, No. CA-95-204-2-MU (W.D.N.C. Mar. 11, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    